                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE



 UNITED STATES OF AMERICA,                               )
                                                         )
                         Plaintiff,                      )
                                                         )
 v.                                                      )           No. 3:07-CR-44
                                                         )           (PHILLIPS/SHIRLEY)
 MICHELLE CHAVEZ,                                        )
                                                         )
                         Defendant.                      )



                                  MEMORANDUM AND ORDER

                 This matter is before the Court on the defendant’s Motion for Travel Expenses [Doc.

 313], pursuant to a referral [314] of said motion from the District Court. See 28 U.S.C. § 636(b).

 The defendant, who is on supervised release in Tucson, Arizona, requests the Court to order the

 payment of her travel expenses from her home to Knoxville, Tennessee, to attend her sentencing

 hearing, which has been scheduled for January 9, 2009, at 1:00 p.m. In support of this motion, she

 has filed an Affidavit [Doc. 318], which states that she earns $1,200 monthly, her living expenses

 and rent cost approximately $1350 per month, and she has no real or personal assets.

                 A United States Magistrate judge may order that the United States Marshal arrange

 for non-custodial transportation or provide the fare for same for a defendant released on conditions

 in another district to travel to the prosecuting district for a court appearance if the judge is satisfied

 that (1) such order would be in the interests of justice and (2) the defendant is not financially able

 to provide the transportation on his or her own. 18 U.S.C. § 4285. This statute is limited to the


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 payment of one-way travel for a court appearance. Id.; United States v. Birdhorse, No. 2:07-CR-65,

 2007 WL 2358634, *2 (D. N.D. Aug. 17, 2007). The policy behind the statute is to gain the

 defendant’s appearance both economically and expeditiously:

                Arranging for noncustodial transportation is an efficient means of
                securing court appearances by willing indigent defendants. Absent
                that payment for noncustodial transportation, the likely result is
                custodial transportation following issuance of a warrant, at far higher
                costs to the United States Marshal's Service.

 Birdhorse, 2007 WL 2358634, at 2.

                 In the present case, the Court determined [Doc. 187] that the defendant qualified for

 appointed counsel based upon the financial affidavit she tendered to the Court. The affidavit that

 she submitted in support of her motion reflects that her means are still quite limited. The Court finds

 that the defendant is not financially able to provide transportation from Arizona, where she resides,

 to the Eastern District of Tennessee for her sentencing in January. Moreover, the Court also finds

 that the provision of travel expenses as outlined herein is in the interests of justice because of the

 need to conclude the defendant’s case, the financial status of the defendant, and the lack of an

 objection by the government.

                Accordingly, the defendant’s Motion for Travel Expenses [Doc. 313] is GRANTED.

 The United States Marshal is ORDERED to provide noncustodial transportation or the fare for such

 transportation for the defendant to travel from Tucson Arizona, to Knoxville, Tennessee, in order

 for to attend her sentencing hearing before District Judge Thomas W. Phillips on January 9, 2009,

 or on such future date as the sentencing hearing occurs if it is continued. The defendant is cautioned

 that such transportation is only provided for the trip from Tucson, Arizona to Knoxville, Tennessee.




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 The Clerk of the Court is to provide three (3) certified copies of this order to the United States

 Marshal. The marshal shall coordinate with defense counsel Steven G. Shope in making the

 defendant’s travel arrangements.

                IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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